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                               EXHIBIT "A"


Judge Barbier’s Courtroom
                                              Bench                     Witness
                 Law
                 Clerk                                 Clerk                                Interns


                                                Elmo                         Swing Chair
L                                                                                          BP         MI
                                                    Podium
a PSC     Swing Chair
r                                                                                          BP         MI
g PSC                                                        HESI                BP
                      PSC                 PSC
e                                                                                          BP            MI
  PSC                                                                            BP
                      PSC                 PSC                HESI
S PSC                                                                                      HESI          LCD   HESI
c                     PSC                 PSC                HESI                BP                   HESI
r USA                                                                                      HESI
e
                                                                                           CAM        TO
e USA             LA                          PSC         TO                       BP
n
                                                                                           CAM        TO
                         ALA USA USA                            TO TO CAM
                                                                                           TO         TO


                  TECH               TECH                           TECH         TECH           TECH
PSC PSC PSC




 PSC‐2 DOJ‐2    LA‐1 AL‐1 CAM‐2 APC‐2                               Reserved ‐     MEDIA    Reserved ‐


   TO‐3        BP‐3         HESI‐2   MOEX‐2                         Reserved ‐    MEDIA     Reserved ‐




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